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UNITED STATES DISTRICT COURT                   SOUTHERN DISTRICT OF TEXAS
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
Steven F. Hotze, MD,                      §                                     July 17, 2020
                                          §                                  David J. Bradley, Clerk
versus                                    §               Civil Action 4:20−cv−02104
                                          §
Greg Abbott, et al.                       §

                              Order Setting Hearing

1.          A hearing will be held before Lynn N Hughes on

                                    July 17, 2020
                                     at 02:00 PM
                           Courtroom 11−C, Eleventh Floor
                             United States Court House
                                  515 Rusk Avenue
                               Houston, Texas 77002.

2.          To ensure full notice, whoever receives this notice must confirm that every
            other party knows of the setting.

3.          Each party must appear by an attorney with (a) full knowledge of the facts
            and (b) authority to bind the client.

4.          The court will consider motions, narrow issues, inquire about and resolve
            expected motions, interrogate counsel, and schedule discovery. Counsel are
            to consult among themselves about these matters well in advance.

            Signed on July 17, 2020, at Houston, Texas.
